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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
BENEFIT COSMETICS LLC,
Case No. 18-cv-05432
Plaintiff,
Judge Gary Feinerman
v. Magistrate Judge Maria Valdez

5 STARS BRUCE STORE, et al.,

Defendants.

 

 

SATISFACTION OF JUDGMENT
WHEREAS, a judgment was entered in the above action on November 19, 2018 [46], in
favor of Plaintiff Benefit Cosmetics LLC (“Benefit” or “Plaintiff’), and against the Defendants
Identified in Schedule A in the amount of two hundred thousand dollars ($200,000) per Defaulting
Defendant, and Plaintiff acknowledges payment of an agreed upon damages amount, costs, and
interest and desires to release this judgment and hereby fully and completely satisfy the same as

to the following Defendants:

 

 

 

 

Defendant Name Line No.
BeautyMe Store 3
BeautyMe”’ % Store 4
BelleMe Store . 5

 

 

 

 

THEREFORE, full and complete satisfaction of said judgment as to the above-referenced
Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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Dated this 7th day of June 2019. Respectfully submitted,

"hi EL, .

Kmy C, Zieglér

Justin R. Gaudio

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Counsel for Plaintiff Benefit Cosmetics LLC

Subscribed and sworn to me by Amy C. Ziegler, on this 7th day of June 2019.

Given under by hand and notarial seal.

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Notary Public

CAITLIN SCHLIE

Official Seal State of Illinois

Notary Public ~ State of Hlinols
My Commission Expires Nov 20, 2024 County of Cook

 
